UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

                                                                     Case No. 20-10322 (CLB)
In re:
                                                                     Chapter 11
THE DIOCESE OF BUFFALO, N.Y.,

                                    Debtor.



The Diocese of Buffalo, N.Y.,
                                                                     Adversary No. 20-01016
                                    Plaintiff,

         v.

JMH 100 Doe, et al.1

                                    Defendants.


          GENERAL AND SPECIFIC OBJECTIONS TO DECLARATION OF
      MELISSA POTZLER, ESQ., IN SUPPORT OF THE DIOCESE'S MOTION FOR
    ENTRY OF AN ORDER PURSUANT TO 11 U.S.C. §§105(a) AND 362(a) ENJOINING
           THE PROSECUTION OF CERTAIN STATE COURT LAWSUITS

         The Official Committee of Unsecured Creditors (the “Committee”) of the Roman

Catholic Diocese of Buffalo, New York (the “Diocese”) objects to the Direct Testimony of

Melissa Potzler [Adversary Docket No. 290] (the “Testimony”), submitted by the Diocese in

support of its Motion for a Preliminary Injunction Under 11 U.S.C. §§ 362 and 105(a).

                                         GENERAL OBJECTIONS

         The Committee objects generally that Ms. Potzler’s Testimony is riddled with statements

for which she has no personal knowledge, and therefore lacks the foundation to make such

statements, all because she commenced her employment with the Diocese in September 2022.


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 A full list of the Defendants in this adversary proceeding is attached as Exhibit A to the Diocese’s complaint,
which has been redacted to protect the privacy interests of survivors.


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Simply as a matter of timing, Ms. Potzler could not know what the Diocese faced, or was facing

prior to the filing for bankruptcy and the imposition of the automatic stay on all ongoing

litigation. Ms. Potzler’s Testimony fails to explain the basis for much of the information she

testifies to regarding individual State Court Actions, and makes unsupported conclusions

regarding the effects of such litigation on the estate.

         Below, the Committee objects specifically to particular paragraphs of Ms. Potzler’s.

Testimony to the extent the statements lack foundation, are speculative, conclusory, not based on

her personal knowledge, not based on her perception, or outside the scope of experience.

                                       SPECIFIC OBJECTIONS

 Pg./Para. Excerpt                                                                 Specific Objections

 2¶6             “Many of the complaints in those actions do not                   Objection based upon
                 meaningfully distinguish between allegations of liability         Federal Rules of
                 asserted against the Diocese and those asserted against the       Evidence 601 and
                 Related Entities. In addition nearly all of the Abuse             602. The witness only
                 Claimants who filed Abuse Action against Related Entities         reviewed
                 only after the Petition Date, and who were therefore              approximately twenty
                 prevented by the Bankruptcy Code’s automatic stay                 complaints. Tr.18:4-
                 provisions from including the Diocese as a named                  19:13.
                 defendant, have nevertheless filed a companion proof of
                 claim in this Chapter 11 Case based upon the same
                 allegations of abuse asserted in their respective Abuse
                 Actions, essentially substituting a proof of claim in lieu of a
                 complaint against the Diocese.”

 3¶7             “Litigating the Abuse Actions during the pendency of the          Objection based upon
                 Chapter 11 Case, while the Diocese also attempts to engage        Federal Rules of
                 in mediation with the Committee and its Insurers, will put a      Evidence 601 and
                 significant strain on the Diocese’s staff and will be             602. The Witness’s
                 burdensome and highly disruptive to the administration of         employment
                 the Chapter 11 Case, impairing the Diocese’s ability to           commenced in
                 successfully reorganize. State court litigation against           September 2022 and
                 Related Entities would require the Diocese to divert its          therefore has no
                 limited personnel away from the Diocese’s restructuring           knowledge of
                 efforts, thereby draining estate resources, and shifting the      litigation commenced
                 Diocese’s attention away from the mediation, which is the         against the Diocese
                 best option for developing a plan of reorganization that will     pre-bankruptcy, nor of
                                                                                   the impact of such


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 Pg./Para. Excerpt                                                                Specific Objections

                 allow the Diocese to emerge from the Chapter 11 Case             litigation on the
                 successfully.”                                                   Diocese. Tr.18:15-
                                                                                  19:13; 24:11-14 (“I
                                                                                  don’t know….I
                                                                                  wasn’t there then.”);
                                                                                  30:6-31:4 (“This is a
                                                                                  guess… I don’t know.
                                                                                  . . I cannot answer”);
                                                                                  32:14-16 (“Have you
                                                                                  ever coordinated
                                                                                  abuse actions before?
                                                                                  No.”). This testimony
                                                                                  is speculation and
                                                                                  lacks personal
                                                                                  knowledge and
                                                                                  foundation.

 3¶8             “In addition, litigation of the Abuse Actions will cause the     Objection based upon
                 Diocese and its limited personnel to shift their focus from      Federal Rules of
                 continuing to provide religious and humanitarian services        Evidence 601 and
                 while pursuing reorganization efforts through mediation          602. Same objection
                 and to instead take an active role monitoring and possibly       as to Paragraph 7.
                 even participating in the litigation of the Abuse Actions.”

 3¶8             “The Diocese would have to monitor the Abuse Actions in          Objection based upon
                 an effort to, among other things, protect against adverse        Federal Rules of
                 findings and rulings that would impact insurance coverage        Evidence 601 and
                 liability, all of which would negatively affect the Diocese’s    602. Speculation, no
                 efforts to confirm a plan of reorganization.”                    personal knowledge.
                                                                                  See Objection to
                                                                                  Paragraph 7

 3¶9             “Specifically, if the Abuse Actions go forward, they will        Objection based upon
                 require significant attention from Bishop Fisher, Vicar          Federal Rules of
                 General Fr. Peter Karalus, myself as Chancellor, Chief           Evidence 601 and
                 Operating Officer Richard Suchan, Chief Financial Officer        602. Same objection
                 Ellen Musalowski, Director of Insurance Services, John           as to Paragraph 7.
                 Scholl, and likely many others.”

 4¶10            “Because the Bishop also makes all decisions concerning          Objection based upon
                 the assignment of priests in the Diocese, it is likely that he   Federal Rules of
                 will be required to appear and give testimony at depositions     Evidence 601 and
                 and trials.”                                                     602. Same objection
                                                                                  as to Paragraph 7.



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 Pg./Para. Excerpt                                                                Specific Objections

 4¶10            “I anticipate that Mr. Suchan, Ms. Musalowski and I would        Objection based upon
                 also need to spend a significant amount of time to assist the    Federal Rules of
                 Bishop in addressing such matters on behalf of the Diocese,      Evidence 601 and
                 as well as overseeing the Diocese’s response to the              602. Same objection
                 inevitable flood of discovery requests from Abuse                as to Paragraph 7.
                 Claimants, Insurers and Related Entity defendants.”

 4¶10            “I further expect that if litigation goes forward, Fr. Karalus   Objection based upon
                 will likely be distracted from his religious and operational     Federal Rules of
                 duties as he will be called upon to sit for depositions and      Evidence 601 and
                 provide testimony at trial, and Mr. Scholl and I will need to    602. Same objection
                 coordinate the efforts of the multiple law firms that the        as to Paragraph 7.
                 Diocese and Related Entities would rely upon as defense
                 counsel. Each of the above individuals is critical to the
                 Diocese’s day-to-day functioning, and the Diocese does not
                 have anyone who can replace their services or,
                 alternatively, who could take over for them in connection
                 with this Chapter 11 Case or the Abuse Actions.”

 5¶11            “In fact, because of the staffing reductions, the Diocese has    Objection based upon
                 already had to reduce and/or eliminate several centralized       Federal Rule of
                 ministry functions, including the following departments:         Evidence 402.
                 (1) Youth & Young Adults; (ii) Camp Turner; (iii)                Relevance to alleged
                 Evangelization & Cathechesis; (iv) Deaf Ministry; (v)            burden to Diocese
                 Disability Ministry; (vi) Hispanic Ministry; (vii) STREAM        from litigation if no
                 (Science, Technology, Religion, Engineering, Arts and            stay.
                 Math); (vii) Family Life; and (ix) The Catholic Union
                 Store.”

 5¶12            “Absent a stay of the Abuse Actions, the Diocese will be         Objection based upon
                 required to participate in substantial discovery concerning      Federal Rules of
                 these fact-specific cases, including preparing for and           Evidence 601 and
                 participating in potentially hundreds of depositions, and        602. Same objection
                 providing testify at numerous trials.”                           as to Paragraph 7. See
                                                                                  also Tr. 36:22-37:2;
                                                                                  Tr. 37:21-38:2.

 5¶12            “Moreover, even if litigation proceeds only in those Abuse       Objection based upon
                 Actions where the Diocese is not a named defendant,              Federal Rules of
                 because the causes of action asserted against the Related        Evidence 601 and
                 Entities in those Abuse Actions are the same or                  602. Same objection
                 substantially similar causes of action asserted against the      as to Paragraph 6. See
                 Diocese, the Diocese will be required to take an active part     also Tr. 101:18-21;
                 in defending against those causes of action in an effort to      Tr. 105:4-22.



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 Pg./Para. Excerpt                                                              Specific Objections

                 avoid issues relating to collateral estoppel, adverse
                 precedent, vicarious liability, or imputed admissions.”

 6¶13            “For example, if findings of fact in a specific Abuse Action   Objection based upon
                 establish knowledge or notice of abuse sufficient to support   Federal Rules of
                 an Insurer’s declination of coverage for a Related Entity      Evidence 601 and
                 under the “expected or intended” defense, such findings        602. Same objection
                 could have negative precedential value for the Diocese with    as to Paragraph 7.
                 respect to its attempts to secure coverage for the same
                 instance of abuse, as well as potentially any Abuse Claims     Additionally, calls for
                 of other individuals involving subsequent abuse committed      a legal conclusion
                 by the same perpetrator.”                                      (Rules 601 and 602).

 7¶16            “With respect to general liability claims, including claims    Objection based upon
                 for bodily injury and sexual misconduct, some of the           Federal Rule of
                 insurance policies provide for deductibles and self-insured    Evidence 403:
                 retentions ranging from $10,000 to as much as $250,000         Overbroad and
                 per occurrence.”                                               confusing as
                                                                                testimony suggests
                                                                                some common trait of
                                                                                retentions over the 50
                                                                                years of coverage
                                                                                when that is contrary
                                                                                to the evidence. Also,
                                                                                no foundation (Rules
                                                                                601 and 602), Witness
                                                                                has no demonstrated
                                                                                insurance knowledge.
                                                                                See Tr. 90:16-18;
                                                                                92:1-13 (“That’s what
                                                                                I was told… I don’t
                                                                                know…That’s well
                                                                                beyond my scope of
                                                                                employment.”)

 7¶16            “Consistent with its longstanding practices and the reliance   Objection based upon
                 interests and expectations of the Related Entities, the        Federal Rules of
                 Diocese is obligated to use this earmarked pool of funds to    Evidence 601, 602
                 satisfy any defense and/or indemnity costs in each Abuse       and 802. Calls for a
                 Action until any applicable deductibles and/or self-insured    legal conclusion and
                 retentions are satisfied.”                                     is hearsay.

 8¶18            “As the Court is aware, prior to the passage of the Child      Objection based upon
                 Victims Act (“CVA”), the Diocese conducted an                  Federal Rule of
                 Independent Reconciliation and Compensation Program            Evidence 402. IRCP


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 Pg./Para. Excerpt                                                                Specific Objections

                 (“IRCP”), which provided survivors of sexual abuse an            program irrelevant to
                 opportunity to settle their Abuse Claims against the             alleged burden to
                 Diocese and Related Entities. The Diocese expended               Diocese from
                 approximately $17.6 million to settle 107 survivor claims        litigation. Also
                 as part of the IRCP program, with an average settlement          Objection based upon
                 payment of approximately $164,486. Because the IRCP              Federal Rules of
                 program predated passage of the CVA, the survivors who           Evidence 601 and
                 participated in that program were settling claims that were,     602. Same objection
                 at the time, subject to an absolute statute of limitations       as to Paragraph 7.
                 defense. Even setting aside the potential for massive jury       IRCP program
                 verdicts, I anticipate that the per-claim cost to settle Abuse   occurred prior to
                 Actions that are now legally viable because they were            Witness’s
                 commenced during the CVA revival window will require at          employment with
                 least as much, if not substantially more than, what the          Diocese.
                 Diocese expended to settle time-barred claims through the
                 IRCP.

 8¶18            “Thus, even if only a small subset of the Abuse Actions          Objection based upon
                 moves forward in litigation, the reserves established by the     Federal Rules of
                 Diocese to pay deductibles and self-insured retentions will      Evidence 601 and
                 quickly be exhausted by defense costs and                        602. Same objection
                 settlement/indemnity payments. Rather than dissipating           as to Paragraph 7.
                 those resources through litigation, the Diocese believes that
                 they would be put to far better use as a contribution to a
                 survivor trust under a plan of reorganization in this Chapter
                 11 Case.”

 8¶19            “Thus, even if only a small subset of the Abuse Actions          Objection based upon
                 moves forward in litigation, the reserves established by the     Federal Rules of
                 Diocese to pay deductibles and self-insured retentions will      Evidence 601 and
                 quickly be exhausted by defense costs and                        602. Same objection
                 settlement/indemnity payments. Rather than dissipating           as to Paragraph 7. See
                 those resources through litigation, the Diocese believes that    also Tr. 92:23-93:20
                 they would be put to far better use as a contribution to a       (“I don’t know. That’s
                 survivor trust under a plan of reorganization in this Chapter    beyond my scope of
                 11 Case.                                                         employment.”)




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Dated: November 24, 2023        PACHULSKI STANG ZIEHL & JONES LLP

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